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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             Jram 429 LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ 87-   3165880
                                                  ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                             2068  Flatbush Ave
                                             ______________________________________________              _______________________________________________
                                              Number       Street                                        Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Brooklyn NY 11234
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                               Kings
                                              County                                                       429 Whyte ave
                                                                                                         _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                          Brooklyn NY 11249
                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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                     Jram 429 LLC
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          
                                          x Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 x The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor             Jram 429 LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        
                                          x No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases           
                                          x No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real             
                                          x Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                                              429 Wythe Ave
                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________
                                                                              Brooklyn,
                                                                             _______________________________________           NY ________________
                                                                                                                             _______     11249
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                   
                                                   x   Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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Debtor          Jram 429 LLC
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         x Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         
                                         x 1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        
                                                                             x $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        
                                                                             x $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on _________________
                                                          4/19/2023
                                                         MM / DD / YYYY


                                            _____________________________________________
                                                                                                            Yehuda Lasry
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                       Member
                                             Title _________________________________________




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Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                           _____________________________________________            Date       _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number     Street

                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                           ____________________________________                            __________________________________________
                                           Contact phone                                                   Email address



                                           ______________________________________________________ ____________
                                           Bar number                                             State




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                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                               www.nyeb.uscourts.gov


                                                 STATEMENT PURSUANT TO LOCAL
                                                   BANKRUPTCY RULE 1073-2(b)

          JRM429 LLC
DEBTOR(S):______________________________________________________ CASE NO.:______________________

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

✔
     NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
     THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
2.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES:________________________________________________________________________________________________

                                                                            1
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                                                                    [OVER]

     DISCLOSURE OF RELATED CASES (cont’d)

3.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
     NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
     be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


     TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

     I am admitted to practice in the Eastern District of New York (Y/N): __________

     CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

     I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
     indicated elsewhere on this form.



     __________________________________________                                       ______________________________________________
     Signature of Debtor’s Attorney                                                   Signature of Pro-se Debtor/Petitioner

                                                                                      ______________________________________________
                                                                                      2068 Flatbush Ave
                                                                                      Mailing Address of Debtor/Petitioner
                                                                                      brooklyn NY 11234
                                                                                      ______________________________________________
                                                                                      City, State, Zip Code

                                                                                      Huda@mannaCS.com
                                                                                      ______________________________________________
                                                                                      Email Address

                                                                                      646-744-5668
                                                                                      ______________________________________________
                                                                                      Area Code and Telephone Number




     Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
     other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
     the dismissal of the case with prejudice.

     NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
     result.


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       JRM429 LLC




                Gitty Charnas
                2068 Flatbush Ave Brooklyn Ny 11234
                Huda@mannaCS.com
                    646-744-5668

                 JRM 429 LLC




x




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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NEW YORK


----------------------------------------------------x
In Re:                                                                       Case No.

JRM429 LLC                                                                   Chapter




                              Debtor(s)
----------------------------------------------------x



     VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.




Dated:
          April 19, 2023


                                                        ____________________________________
                                                        Debtor


                                                        ____________________________________
                                                        Joint Debtor


                                                        s/
                                                        ____________________________________
                                                        Attorney for Debtor




USBC-44                                                                                     Rev. 11/15
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Ross Eisenberg Law PLLC

C/O
ARCPE I LLC
445 Central Ave. Suite 112
Cedarhurst N.Y. 11516
